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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                ) Case No. 2:04-cr-1189-CAS
                                              )
12                     Plaintiff,             )
13               v.                           )
                                              ) ORDER
14
     GABRIEL GONZALEZ,                        )
15                                            )
16                     Defendant.             )
                                              )
17                                            )
18         The Court is in receipt of defendant’s reply brief in support of his motion for
19   compassionate release and home confinement. Dkt. 213. Defendant’s reply brief suggests
20   that defendant contracted COVID-19 in May of 2020. Accordingly, the Court orders as
21   follows:
22         1.    The government SHALL inquire with the relevant officials at FCI Forrest-
23               City—the BOP facility where defendant is currently incarcerated—regarding
24               the following:
25               a.    Whether defendant has tested positive for COVID-19, and if so, when;
26               b.    If defendant has tested positive for COVID-19, whether defendant has
27                     manifested any symptoms or suffered any changes in his health;
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1               c.    If defendant has tested positive for COVID-19, whether defendant has
2                     received any treatment, and
3               d.    If defendant has tested positive for COVID-19 and has received
4                     treatment, what that treatment consists of.
5         2.    The government SHALL filed a report with its responses to the above
6               inquiries within fourteen (14) days.
7         3.    The government SHALL serve this order and its report in response to this
8               order on defendant.
9         IT IS SO ORDERED.
10   DATED: July 17, 2020
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                                                        CHRISTINA A. SNYDER
12                                                  UNITED STATES DISTRICT JUDGE
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